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                  EXHIBIT 12
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  From:          James Kolenich
  To:            Yotam Barkai; Seguin L. Strohmeier
  Subject:       Matt Heimbach discovery responses
  Date:          Friday, April 13, 2018 10:22:03 AM
  Attachments:   heimbachpacket.pdf


  Please find attached discovery responses of defendant Matthew Heimbach.

  Jim

  --
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  513-444-2150
  513-297-6065(fax)
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